                   IN THE UNITED STATES DISTRICT COURT
                FOR THE MIDDLE DISTRICT OF NORTH CAROLINA

 KIRSTIE BEASLEY, and HELEN             )
 HOLLAND, Individually,                 )
                                        )
                     Plaintiffs,        )
       v.                               )
                                        )                 1:17CV255
 BOJANGLES’ RESTAURANTS, INC.,          )
 a Delaware Corporation, and            )
 BOJANGLES’, INC., a Delaware           )
 Corporation,                           )
                                        )
                     Defendants.        )

                      MEMORANDUM OPINION AND ORDER

      This matter is before the Court on Defendants’ Motion to Dismiss, [Doc.

#23], pursuant to Rule 12(b)(5) of the Federal Rules of Civil Procedure. On March

21, 2017, Plaintiffs Kirstie Beasley and Helen Holland filed this purported collective

action alleging violations of the Fair Labor Standards Act (“FLSA”). (See Compl.

[Doc. #1].) A summons was issued for Defendants, (see Doc. #3]), but was never

served. Instead, during the time period for service, Plaintiffs filed numerous

notices of FLSA consents-to-join. (See Notices (Mar. 21–July 11, 2017) [Docs.

#2, 5, 6, 9, 10, 12-15].) On July 20, 2017, the Clerk of this Court sent notice to

Plaintiffs of their failure to serve Defendants timely, afforded them fourteen days

to respond to the notice, and warned that failure to respond may result in dismissal

of the action. (See Notice [Doc. #16].) Instead of responding, Plaintiffs filed yet

another notice of FLSA consents-to-join five days after the Clerk’s admonition.

(See Notice (July 25, 2017) [Doc. #17].) Having received no response from




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Plaintiffs, on October 26, 2017, the case was referred to the Court for failure to

obtain service. (See Text Entry (Oct. 26, 2017).)

      Before the Court ruled on the matter, Plaintiffs, still having failed to serve

Defendants, filed an Amended Complaint and the original summons as unexecuted.

(See Am. Compl. [Doc. #18]; Unexecuted Summons [Doc. #19].) The summons

was reissued and finally served on Defendants on March 22, 2018, (see Executed

Summons [Doc. #22]), just over one year after the Complaint was filed.

                                          I.

      Plaintiffs acknowledge, as they must, that Defendants were not served until

March 22, 2018, but argue that dismissal is inappropriate because Defendants had

actual notice of the lawsuit and Plaintiffs would be greatly prejudiced because

portions of their claims would be barred by the statute of limitations. (See

generally Pls.’ Resp. in Opp’n [Doc. #27].)

                                          A.

      Rule 4(m) of the Federal Rules of Civil Procedure provides that

      If a defendant is not served within 90 days after the complaint is filed,
      the court – on motion or on its own after notice to the plaintiff – must
      dismiss the action without prejudice against the defendant or order
      that service be made within a specified time. But if the plaintiff
      shows good cause for the failure, the court must extend the time for
      service for an appropriate period.

Fed. R. Civ. P. 4(m).

      Courts examine a number of factors to determine if good cause exists to

excuse a plaintiff’s failure to serve timely. Those



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      include whether: 1) the delay in service was outside the plaintiff’s
      control, 2) the defendant was evasive, 3) the plaintiff acted diligently
      or made reasonable efforts, 4) the plaintiff is pro se or in forma
      paurperis, 5) the defendant will be prejudiced, or 6) the plaintiff asked
      for an extension of time under Rule 6(b)(1)(A).

Scott v. Md. State Dep’t of Labor, 673 F. App’x 299, 306 (4th Cir. Dec. 20,

2016) (unpublished) (citing Kurka v. Iowa Cty., Iowa, 628 F.3d 953, 957 (8th Cir.

2010) & Dickerson v. Napolitano, 604 F.3d 732, 752 (2d Cir. 2010)); see also 4B

Charles Alan Wright & Arthur R. Miller, Federal Practice and Procedure §1137 (4th

ed. 2018 update). The burden to prove good cause is on the plaintiff. Wright &

Miller § 1137.

                                          B.

       There is no dispute that Plaintiffs failed to serve Defendants with a

summons and a copy of the Complaint within ninety days of the date they filed

their Complaint. Thus, the issue is whether Defendants’ actual notice of the suit

excuses Plaintiffs’ untimely service and, if not, whether Plaintiffs have met their

burden of showing good cause to excuse their failure.

                                          1.

      On February 6, 2017, Holland, then the only named plaintiff, filed a putative

FLSA collective action against Defendants in the Western District of North

Carolina. (See Compl. [Doc. #1], Holland v. Bojangles’ Rests., Inc., No. 3:17CV50-

RJC-DSC.) Having learned of the case, counsel for Defendants emailed Plaintiffs’

counsel twice offering to accept service of process. (See Emails from Charles




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Johnson to Chris Strianese (Feb. 16, 2017 & Feb. 22, 2017) [Doc. #24-1].)

Plaintiffs never accepted the offers or otherwise served Defendants.

      Instead, on March 21, 2017, Holland voluntarily dismissed the action in the

Western District, (see Notice [Doc. #3], Holland), and, along with Beasley, filed

this action. Having seen that Holland voluntarily dismissed the Western District

action and filed the instant action, Defendants’ counsel renewed his offer to accept

service. (See Emails between Charles Johnson to Chris Strianese (Mar. 22-24,

2017) [Doc. #24-2].) Plaintiffs did not accept the offer. In June 2017, after

Defendants refused to stipulate to Plaintiffs’ proposed dismissal without prejudice,

Defendants’ counsel once again offered to accept service if Plaintiffs intended to

proceed. (See Emails between Charles Johnson and Chris Strianese (May 24-June

2, 2017) [Doc. #24-3].) Although Plaintiffs’ counsel advised that they “should be

in a position to serve next week or the week after”, they did not do so until March

28, 2018.

      It is Plaintiffs’ burden to follow the Federal Rules of Civil Procedure when

prosecuting an action. Early among those rules is the well-known requirement that

a plaintiff serve a copy of the summons and complaint within ninety days of filing

the complaint. Plaintiffs contend, though, that “’where actual notice of the

commencement of the action and the duty to defend has been received . . . Rule 4

should be liberally construed.’” (Pls.’ Resp. in Opp’n at 2 (quoting Karlsson v.

Rabinowtiz, 318 F.2d 666 (4th Cir. 1963), and citing in further support Armco,

Inc. v. Penrod-Stauffer Bldg. Sys., Inc., 733 F.2d 1087 (4th Cir. 1984).)

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      In Karlsson, the defendant had resided with his family in Maryland, but at

the time of service had left the state permanently for Arizona while his wife and

children stayed at the Maryland residence to make final arrangements for the

family’s move and to be present at the closing of the sale of the house. 318 F.2d

at 667. Process was served by leaving a copy of the summons and complaint at

the defendant’s Maryland home with his wife. Id. There was a question as to

whether, on the date of service, the Maryland house was the defendant’s dwelling

house or usual place of abode. Id. at 668. The Fourth Circuit Court of Appeals

found that, “[u]nder the particular circumstances of this case and applying the rule

of liberal construction,” service was sufficient. Id. at 669. The court explained

that “where actual notice of the commencement of the action and the duty to

defend has been received by the one served, the provisions of [then-]Rule 4(d)(1)1

should be liberally construed to effectuate service and uphold the jurisdiction of the

court”. Id. at 668 (emphasis added).

      Two decades later, the court applied the same rule, but found service to be

invalid. In Armco, Inc., pursuant to then-Rule 4(c)(2)(C)(i), the summons and

complaint and two copies of the notice and acknowledgment form were properly

mailed to the defendant whose vice president and secretary signed the return

receipt. 733 F.2d at 1088. However, the notice and acknowledgment form was

not signed or returned to the plaintiff’s counsel as required for the plaintiff to avoid



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  At the time of the Karlsson opinion, Rule 4(d)(1) instructed on service upon an
individual. See Karlsson, 318 F.2d at 667 n.1.
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formal service, and no other service of process was attempted. Id. The court

explained, as it had years earlier, that “[w]hen the process gives the defendant

actual notice of the pendency of the action, the rules, in general, are entitled to a

liberal construction.” Id. at 1089 (emphasis added). “When there is actual notice,

every technical violation of the rule or failure of strict compliance may not

invalidate the service of process.” Id. (emphasis added). However, “the rules are

there to be followed”, particularly “when the means employed [for service] . . .

leav[e] [the defendant] without clear notice of the necessity to respond”. Id. Under

these circumstances, service was invalid. Id. The court warned that the “plain

requirements for the means of effecting service of process may not be ignored.”

Id.

       The obvious fact that distinguishes Karlsson and Armco, Inc. from those of

the instant action is that, here, unlike the plaintiffs in those cases, Plaintiffs made

no attempt at service whatsoever, even when Defendants’ counsel extended his

hand to accept service, until approximately one year after they filed their

Complaint. While Defendants had actual notice of the instant action, that notice

did not arise from Plaintiffs’ ineffective service of process as it did in Karlsson and

Armco, Inc. Furthermore, the communications between counsel about Plaintiffs’

possible voluntary dismissal, coupled with Plaintiffs’ repeated failure to serve

process, certainly must have left Defendants “without clear notice of the necessity

to respond.” Simply put, Plaintiffs did exactly what the Fourth Circuit Court of

Appeals has admonished plaintiffs not to do – they ignored the plain requirements

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for effecting service of process – and they did so despite this court’s notice of the

possible consequences. Under these circumstances, Defendants’ actual

knowledge of Plaintiffs’ suit does not warrant a more liberal application of Rule 4’s

requirements.

                                           2.

      Plaintiffs provide no explanation for their dilatory service, much less an

argument for good cause, nor could they do so successfully under the facts

present here. Delay in service was within their control; Defendants’ counsel

offered to accept service on two occasions; Plaintiffs made no effort at service in

response to those offers or the Clerk’s notice until approximately nine months too

late; Plaintiffs are represented by counsel; and they never sought an extension of

time under Rule 6(b)(1)(A) within which to serve Defendants2. See Scott, 673 F.

App’x at 306.

      Plaintiffs suggest that any prejudice to Defendants “can be quickly remedied

by transferring [their] claims in the present action to the Eastern District of

Tennessee action of Thaxton et al. v. Bojangles’ Restaurant, Inc., and Bojangles’

Inc. (Case No. 17-cv-00269-TRM-CHS)”, an FLSA “collective action with similar

claims”. (Pls.’ Resp. in Opp’n at 4.) Such a transfer would “consolidate much of

the expected legal fees and expenses that Defendants feel will eventually prejudice




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  Even after Plaintiffs were notified by the Clerk of their failure to serve Defendants
timely, they did not move under Rule 6(b)(1)(B) for an extension of time within
which to do so.
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them” and “will also prevent any potential prejudice to Plaintiffs in that their

statutes of limitations will remain tolled and their claims will continue to be

preserved.” (Id.) Although defending against claims in one action as opposed to

two would help to alleviate a defendant’s litigation expenses, transferring this

action to the Eastern District of Tennessee would also relieve Plaintiffs of the

consequences of their repeated failures to serve Defendants timely in the instant

action, particularly in light of Plaintiffs’ counsel’s informed decision to “go[]

forward” with this case and not pursue their proposed voluntary dismissal in June

2017. In addition, there is nothing before the Court to show that transfer to the

Eastern District of Tennessee is otherwise proper.

                                           3.

      The Advisory Committee Note to the 1993 Amendments3 explains that Rule

4(m) “authorizes the court to relieve a plaintiff of the consequences of an

application of this subdivision even if there is no good cause shown.” Fed. R. Civ.

P. 4 advisory committee’s note to 1993 amendment. Accordingly, a court must

extend time for service if a plaintiff shows good cause, while a court has discretion

to do so even absent a good cause showing. DiPaulo v. Potter, 570 F. Supp. 2d

802, 807 (M.D.N.C. 2008) (discussing the implications of Mendez v. Elliot, 45

F.3d 75 (4th Cir. 1995) and Henderson v. United States, 517 U.S. 654 (1996));

Wright & Miller § 1137 (analyzing the various courts’ positions on the issue and



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  The 1993 Amendments to Rule 4 included, among other changes, moving the
language from Rule 4(j) to Rule 4(m).
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concluding that, “[a]s of this writing, the overwhelming majority of federal courts

and dicta from the Supreme Court embrace the view that a district court has

discretion under Rule 4(m) to dismiss a complaint or to allow the plaintiff to cure a

defect in service of process even in the absence of good cause”).

       Assuming arguendo that, despite the absence of good cause, the court

could excuse Plaintiffs’ untimely service, the court declines to exercise discretion

to do so under these circumstances. Plaintiffs argue that dismissing the action will

prejudice them because they each “stand[] to lose” a portion of their respective

“claims” due to the statute of limitations. (Pl.’s Resp. in Opp’n at 3.) In support of

this position, they cite Fields v. Norfolk & Southern Railway Co., 924 F. Supp. 2d

702, 710 (S.D.W. Va. 2012), in which the court applied West Virginia state law in

its exercise of discretion where the plaintiff’s counsel initiated service immediately

after realizing the deadline had passed and effected service seven days after the

deadline to do so, and Gallo v. United States, 331 F. Supp. 2d 446, 448 (E.D. Va.

2004), in which the court found that a mother could not represent her minor child

pro se, a rule “aimed at protecting the rights of children”, but that “[i]t would be a

perverse result to rest dismissal of [the minor’s] claim on this ground, thereby

preventing her from ever litigating her claim, as she is clearly the person the rule

means to protect.” For obvious reasons, these cases are distinguishable from the

instant action. As the Fourth Circuit has recognized, “[t]he ‘without prejudice’

condition [of dismissal] permits a plaintiff to refile a complaint as if it had never

been filed”; Rule 4 “does not, however, give the [plaintiff] a right to refile without

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the consequences of time defenses, such as the statute of limitations.” Mendez,

45 F.3d at 78.

       Here, Plaintiffs’ counsel first filed a similar action in the Western District of

North Carolina before voluntarily dismissing and filing the instant action, knowing

all the while the effect of the statute of limitations on Plaintiffs’ claims for unpaid

overtime wages. It is Plaintiffs’ counsel who not only declined offers in March and

June 2017 from Defendants’ counsel to accept service in this case, but who also

failed to respond to the Clerk’s notice or heed the consequential warnings. It is

not now the Court’s responsibility to aid Plaintiffs when they previously rejected

such assistance. These circumstances do not warrant the exercise of discretion, in

the absence of good cause, to permit Plaintiffs’ late service to cure their Rule 4(m)

violation.

                                            II.

       For the reasons previously explained, IT IS HEREBY ORDERED that

Defendants’ Motion to Dismiss [Doc. #23] be GRANTED. A judgment dismissing

this action without prejudice is being filed contemporaneously with this

Memorandum Opinion and Order.

       This the 20th day of September, 2018.



                                               /s/ N. Carlton Tilley, Jr.
                                          Senior United States District Judge




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